UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

PUBLIC ADMINISTRATOR OF THE COUNTY OF Docket #
NASSAU, as Administrator of the Estate of EMANUEL

McELVEEN, deceased,
VERIFIED COMPLAINT

Plaintiff,
JURY TRIAL
-against- DEMANDED

COUNTY OF NASSAU, COUNTY OF NASSAU
CORRECTIONAL CENTER, NASSAU COUNTY
SHERIFF'S DEPARTMENT, NASSAU HEALTH CARE
CORPORATION, ARMOR CORRECTIONAL HEALTH
SERVICES, INC. and ARMOR CORRECTIONAL
HEALTH SERVICES OF NEW YORK, INC.,

Defendants.

Plaintiff, by his attorneys, Parker Waichman LLP, complaining of the Defendants herein,

respectfully alleges as follows:
JURISDICTION AND VENUE

1. This Court has jurisdiction pursuant to 28 U.S.C. Section 1331 due to
Defendants’ violation of Section 42 U.S.C. 1981, 1983 and 1988 as well as various provisions of the

United States Constitution.

2. Venue is proper in this district under 28 U.S.C. Section 1391 because the
claims of the Plaintiff's decedent arose in this district and/or Defendants do business in this district.

3, This Court also has jurisdiction over the matters alleged pursuant to the
principles of supplemental jurisdiction.

4. Plaintiff respectfully demands a trial by jury of all issues in the matter
pursuant to Fed. R. Civ. P.38(b).

5. That the cause of action alleged herein arose in the County of Nassau and

State of New York.

PARTIES

6. That at the time of the commencement of this action, Plaintiff PUBLIC
ADMINISTRATOR OF THE COUNTY OF NASSAU has offices in the County of Nassau, State
of New York,

7. On September 18, 2017, Plaintiff PUBLIC ADMINISTRATOR OF THE
COUNTY OF NASSAU was appointed as the Administrator of the Estate of EMANUEL
McELVEEN by order of the Hon. Margaret C. Reilly, Surrogate Judge of the Nassau County
Surrogate’s Court.

8. That on or about August 21, 2015 through on or about June 28, 2016, and at all
times herein mentioned, Defendant COUNTY OF NASSAU (hereinafter “COUNTY”) was and
still is a domestic municipal corporation formed pursuant to the laws of the State of New York.

9, That on or about August 21, 2015 through on or about June 28, 2016, and at all
times herein mentioned, Defendant “COUNTY” was and still is a domestic municipal corporation
formed pursuant to the laws of the State of New York with its place of business at One West
Street, Mineola, New York 11501.

10. That on or about August 21, 2015 through on or about June 28, 2016, and at all
times herein mentioned, Defendant COUNTY OF NASSAU CORRECTIONAL CENTER was
and still is a domestic municipal corporation formed pursuant to the laws of the State of New
York,

ll. That on or about August 21, 2015 through on or about June 28, 2016, and at all
times herein mentioned, Defendant COUNTY OF NASSAU CORRECTIONAL CENTER was
and still is a domestic municipal corporation formed pursuant to the laws of the State of New York
with its place of business at 100 Carman Avenue, East Meadow, New York 11554.

12. That on or about August 21, 2015 through on or about June 28, 2016, and at all
times herein mentioned, Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT was and
still is a domestic municipal corporation formed pursuant to the laws of the State of New York.

13. That on or about August 21, 2015 through on or about June 28, 2016, and at all
times herein mentioned, Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT was and

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still is a domestic municipal corporation formed pursuant to the laws of the State of New York
with its place of business at 100 Carman Avenue, East Meadow, New York 11554.

14. That on or about June 28, 2016 through on or about July 5, 2016, and at all times
herein mentioned, Defendant NASSAU HEALTH CARE CORPORATION was and still is a
domestic municipal corporation formed pursuant to the laws of the State of New York.

15. That on or about June 28, 2016 through on or about July 5, 2016, and at all times
herein mentioned, Defendant NASSAU HEALTH CARE CORPORATION was and still is a
domestic municipal corporation with its place of business at 2201 Hempstead Turnpike, East
Meadow, New York 11554.

16. That on or about August 21, 2015 through on or about June 28, 2016, and at all
times herein mentioned, Defendant ARMOR CORRECTIONAL HEALTH SERVICES, INC.
(hereinafter “ARMOR”) was and still is a domestic corporation formed pursuant to the laws of the
State of New York.

17. That on or about August 21, 2015 through on or about June 28, 2016, and at all
times herein mentioned, Defendant “ARMOR” was and still is a foreign corporation formed
pursuant to the laws of the State of New York with its place of business at 100 Carman Avenue,
East Meadow, New York 11554.

18. That on or about August 21, 2015 through on or about June 28, 2016, and at all
times herein mentioned, Defendant ARMOR CORRECTIONAL HEALTH SERVICES OF NEW
YORK, INC. (hereinafter “ARMOR NEW YORK”) was and still is a domestic corporation
formed pursuant to the laws of the State of New York.

19. That on or about August 21, 2015 through on or about June 28, 2016, and at all
times herein mentioned, Defendant “ARMOR NEW YORK” was and still is a foreign corporation
formed pursuant to the laws of the State of New York with its place of business at 100 Carman
Avenue, East Meadow, New York 11554.

NOTICE OF CLAIM

20. That prior hereto on September 22, 2016 and within the time prescribed by law, a

sworn Notice of Claim stating, among other things, the time when and place where the injuries

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and damages were sustained, together with plaintiff's demands for adjustment thereof was duly
served on the claimant's behalf on the Comptroller of COUNTY OF NASSAU and that thereafter
said Comptroller for COUNTY OF NASSAU refused or neglected for more than thirty (30) days
and up to the commencement of this action to make any adjustment or payment thereof, and that
thereafter, and within the time provided by law, this action was commenced.

21. That prior hereto on September 22, 2016 and within the time prescribed by law, a
sworn Notice of Claim stating, among other things, the time when and place where the injuries
and damages were sustained, together with plaintiffs demands for adjustment thereof was duly
served on the claimant's behalf on the Comptroller of COUNTY OF NASSAU CORRECTIONAL
CENTER and that thereafter said Comptroller for COUNTY OF NASSAU CORRECTIONAL
CENTER refused or neglected for more than thirty (30) days and up to the commencement of this
action to make any adjustment or payment thereof, and that thereafter, and within the time
provided by law, this action was commenced.

22. That prior hereto on September 22, 2016 and within the time prescribed by law, a
sworn Notice of Claim stating, among other things, the time when and place where the injuries
and damages were sustained, together with plaintiffs demands for adjustment thereof was duly
served on the claimant's behalf on the Comptroller of NASSAU COUNTY SHERIFF'S
DEPARTMENT and that thereafter said Comptroller for NASSAU COUNTY SHERIFF’S
DEPARTMENT refused or neglected for more than thirty (30) days and up to the commencement
of this action to make any adjustment or payment thereof, and that thereafter, and within the time
provided by law, this action was commenced.

23. That prior hereto on September 22, 2016 and within the time prescribed by law, a
sworn Notice of Claim stating, among other things, the time when and place where the injuries
and damages were sustained, together with plaintiff's demands for adjustment thereof was duly
served on the claimant's behalf on the Comptroller of NASSAU HEALTH CARE
CORPORATION and that thereafter said Comptroller for NASSAU HEALTH CARE
CORPORATION refused or neglected for more than thirty (30) days and up to the

commencement of this action to make any adjustment or payment thereof, and that thereafter, and

within the time provided by law, this action was commenced.

STATUTORY HEARINGS

24. That pursuant to General Municipal Law 50-h, a hearing was not held of the
Plaintiff with reference to the instant claim by attorneys for Defendants COUNTY, COUNTY OF
NASSAU CORRECTIONAL CENTER, NASSAU COUNTY SHERIFF’S DEPARTMENT and
NASSAU HEALTH CARE CORPORATION.

25. That a demand for a 50H hearing pursuant to General Municipal Law 50-h was
made by Defendant NASSAU HEALTH CARE CORPORATION but Defendant refused to
conduct said hearing until an estate representative was appointed.

26. That the instant action is being commenced without a 50H hearing in view of the
pending expiration of the statute of limitations and Plaintiff has or will file an amended Notice of
Claim with the estate representative and will permit a 50H hearing to be conducted after the
Summons and Complaint is filed.

27. That the instant action is being commenced within one year and ninety days after
the accrual of the cause of action hereinafter set forth, in compliance with General Municipal Law

Section 50(i).
FACTUAL ALLEGATIONS

28. On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY OF
NASSAU CORRECTIONAL CENTER was a department of Defendant, COUNTY.

29, On August 21, 2015 through on or about June 28, 2016, Defendant NASSAU
COUNTY SHERIFF’S DEPARTMENT was a department of Defendant, COUNTY.

30. On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY OF
NASSAU CORRECTIONAL CENTER was an independent municipal department of Defendant,

COUNTY.
31. On August 21, 2015 through on or about June 28, 2016, Defendant NASSAU

COUNTY SHERIFF’S DEPARTMENT was an independent municipal department of Defendant,

COUNTY.

32, On June 28, 2016 through on or about July 5, 2016, Defendant NASSAU HEALTH
CARE CORPORATION was a department of Defendant, COUNTY.

33, On June 28, 2016 through on or about July 5, 2016, Defendant NASSAU HEALTH
CARE CORPORATION was an independent municipal department of Defendant, COUNTY

34. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR was
an independent department of Defendant, COUNTY.

35, On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK was an independent department of Defendant, COUNTY.

36. That all employees of Defendant COUNTY OF NASSAU CORRECTIONAL
CENTER were employees of Defendant COUNTY.

37. That all employees of Defendant NASSAU COUNTY SHERRIPF’S
DEPARTMENT were employees of Defendant COUNTY.

38. On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY
owned a correctional center housing individuals placed under arrest by law enforcement officials
at 100 Carman Avenue, East Meadow, New York 11554.

39, On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY
operated a correctional center housing individuals placed under arrest by law enforcement officials
at 100 Carman Avenue, East Meadow, New York 11554.

40. On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY
supervised a correctional center housing individuals placed under arrest by law enforcement
officials at 100 Carman Avenue, East Meadow, New York 11554.

Al. On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY
maintained a correctional center housing individuals placed under arrest by law enforcement
officials at 100 Carman Avenue, East Meadow, New York 11554.

42. On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY OF
NASSAU CORRECTIONAL CENTER owned a correctional center housing individuals placed

under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York

11554.

43, On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY OF
NASSAU CORRECTIONAL CENTER operated a correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York
11554,

44. On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY OF
NASSAU CORRECTIONAL CENTER supervised a correctional center housing individuals
placed under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York
11554.

45. On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY OF
NASSAU CORRECTIONAL CENTER maintained a correctional center housing mdividuals
placed under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York
11554.

46. On August 21, 2015 through on or about June 28, 2016, Defendant NASSAU
COUNTY SHERIFF’S DEPARTMENT owned a correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York
11554.

47, On August 21, 2015 through on or about June 28, 2016, Defendant NASSAU
COUNTY SHERIFF’S DEPARTMENT operated a correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York
11554.

48. On August 21, 2015 through on or about June 28, 2016, Defendant NASSAU
COUNTY SHERIFE’S DEPARTMENT supervised a correctional center housing individuals
placed under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York
11554.

49, On August 21, 2015 through on or about June 28, 2016, Defendant NASSAU
COUNTY SHERIFF’S DEPARTMENT maintained a correctional center housing imdividuals
placed under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York

11554.

50. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
operated a health care facility within the correctional center housing individuals placed under
atrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554.

51. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
supervised a health care facility within the correctional center housing individuals placed under
arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554.

52. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
maintained a health care facility within the correctional center housing individuals placed under
arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554.

53. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
operated a health care facility within the correctional center housing individuals placed under
atrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 114554
pursuant to an agreement with Defendant COUNTY.

54. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
supervised a health care facility within the correctional center housing individuals placed under
atrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant COUNTY.

55. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
maintained a health care facility within the correctional center housing individuals placed under
arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant COUNTY.

56. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
operated a health care facility within the correctional center housing individuals placed under
atrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant COUNTY OF NASSAU CORRECTIONAL CENTER.

57. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR

supervised a health care facility within the correctional center housing individuals placed under

arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant COUNTY OF NASSAU CORRECTIONAL CENTER.

58. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
maintained a health care facility within the correctional center housing individuals placed under
arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant COUNTY OF NASSAU CORRECTIONAL CENTER.

59. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
operated a health care facility within the correctional center housing individuals placed under
arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT.

60. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
supervised a health care facility within the correctional center housing individuals placed under
arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT.

61. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
maintained a health care facility within the correctional center housing individuals placed under
arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT,

62. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK operated a health care facility within the correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York
11554.

63. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK supervised a health care facility within the correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York
11554.

64, On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW

YORK maintained a health care facility within the correctional center housing individuals placed

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under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York
11554,

65. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK operated a health care facility within the correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant COUNTY.

66. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK supervised a health care facility within the correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant COUNTY.

67. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK maintained a health care facility within the correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant COUNTY.

68. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK operated a health care facility within the correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant COUNTY OF NASSAU CORRECTIONAL CENTER.

69. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK supervised a health care facility within the correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant COUNTY OF NASSAU CORRECTIONAL CENTER.

70. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK maintained a health care facility within the correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant COUNTY OF NASSAU CORRECTIONAL CENTER.

71. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW

YORK operated a health care facility within the correctional center housing individuals placed

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under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT.

72. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK supervised a health care facility within the correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant NASSAU COUNTY SHERIFI’S DEPARTMENT.

73. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK maintained a health care facility within the correctional center housing individuals placed
under arrest by law enforcement officials at 100 Carman Avenue, East Meadow, New York 11554
pursuant to an agreement with Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT.

74, On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY OF
NASSAU CORRECTIONAL CENTER operated the aforementioned correctional center in
furtherance of the business and obligations of Defendant COUNTY.

75. On August 21, 2015 through on or about June 28, 2016, Defendant NASSAU
COUNTY SHERIFF’S DEPARTMENT operated the aforementioned correctional center in
furtherance of the business and obligations of Defendant COUNTY.

76. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
operated the aforementioned health care facility within the correctional center in furtherance of the
business and obligations of Defendant COUNTY.

77, On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
operated the aforementioned health care facility within the correctional center in furtherance of the
business and obligations of Defendant COUNTY OF NASSAU CORRECTIONAL CENTER.

78. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
operated the aforementioned health care facility within the correctional center in furtherance of the
business and obligations of Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT.

79. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK operated the aforementioned health care facility within the correctional center in

furtherance of the business and obligations of Defendant COUNTY.

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80. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK operated the aforementioned health care facility within the correctional center in
furtherance of the business and obligations of Defendant COUNTY OF NASSAU
CORRECTIONAL CENTER.

81. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK operated the aforementioned health care facility within the correctional center in
furtherance of the business and obligations of Defendant NASSAU COUNTY SHERIFF’S
DEPARTMENT.

82. On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY OF
NASSAU CORRECTIONAL CENTER operated the aforementioned correctional center in
furtherance of the business and obligations of Defendant COUNTY, staffed and operated by
COUNTY employees.

83. On August 21, 2015 through on or about June 28, 2016, Defendant NASSAU
COUNTY SHERIFF’S DEPARTMENT operated the aforementioned correctional center in
furtherance of the business and obligations of Defendant COUNTY staffed and operated by
COUNTY employees.

84. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR
operated the health care facility within the aforementioned correctional center in furtherance of the
business and obligations of Defendant COUNTY staffed and operated by COUNTY employees.

85. On August 21, 2015 through on or about June 28, 2016, Defendant ARMOR NEW
YORK operated the health care facility within the aforementioned correctional center in
furtherance of the business and obligations of Defendant COUNTY staffed and operated by
COUNTY employees.

86. On August 21, 2015 through on or about June 28, 2016, Defendant COUNTY as
part of its municipal services, operated a police department and correctional center.

87. On August 21, 2015, decedent EMANUEL MCELVEEN came into custody of

Defendant COUNTY.

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88. On August 21, 2015, decedent EMANUEL MCELVEEN came into custody of
Defendant COUNTY OF NASSAU CORRECTIONAL CENTER.

89. On August 21, 2015, decedent EMANUEL MCELVEEN came into custody of
Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT.

90. On August 21, 2015, decedent EMANUEL MCELVEEN came into care and
custody of Defendant ARMOR.

ot. On August 21, 2015, decedent EMANUEL MCELVEEN came into care and
custody of Defendant ARMOR NEW YORK.

92. On August 21, 2015 through on or about June 28, 2016, decedent EMANUEL
MCELVEEN was subject to the supervision and control of the Defendant COUNTY.

93. On August 21, 2015 through on or about June 28, 2016, decedent EMANUEL
MCELVEEN was subject to the supervision and contro! of the Defendant COUNTY OF
NASSAU CORRECTIONAL CENTER.

94, On August 21, 2015 through on or about June 28, 2016, decedent EMANUEL
MCELVEEN was subject to the supervision and control of the Defendant NASSAU COUNTY
SHERIFE’S DEPARTMENT.

95. On August 21, 2015 through on or about June 28, 2016, decedent EMANUEL
MCELVEEN was subject to the supervision and control of the Defendant ARMOR.

96. On August 21, 2015 through on or about June 28, 2016, decedent EMANUEL
MCELVEEN was subject to the supervision and control of the Defendant ARMOR NEW YORK.

97. Decedent, EMANUEL MCELVEEN remained in the control and supervision of
Defendant COUNTY through June 28, 2016.

98.  Decedent, EMANUEL MCELVEEN remained in the control and supervision of
Defendant COUNTY OF NASSAU CORRECTIONAL CENTER through June 28, 2016.

99, Decedent, EMANUEL MCELVEEN remained in the control and supervision of
Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT through June 28, 2016.

100. Decedent, EMANUEL MCELVEEN remained in the control and supervision of
Defendant ARMOR through June 28, 2016.

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101. Decedent, EMANUEL MCELVEEN remained in the control and supervision of
Defendant ARMOR NEW YORK through June 28, 2016.

102. Pursuant to CPLR Section 1602(2)(iv), Defendants, COUNTY OF NASSAU,
COUNTY OF NASSAU CORRECTIONAL CENTER, NASSAU COUNTY SHERIFP’S
DEPARTMENT, NASSAU HEALTH CARE CORPORATION, ARMOR CORRECTIONAL
HEALTH SERVICES, INC. and ARMOR CORRECTIONAL HEALTH SERVICES OF NEW
YORK, INC. are jointly and severally liable for all of plaintiff damages, including but not limited
to plaintiff damages, including but not limited to plaintiffs’ non-economic loss, irrespective of the
provisions of CPLR Section 1601, by reason of the fact that Defendants COUNTY OF NASSAU,
COUNTY OF NASSAU CORRECTIONAL CENTER, NASSAU COUNTY SHERIFF'S
DEPARTMENT, NASSAU HEALTH CARE CORPORATION, ARMOR CORRECTIONAL
HEALTH SERVICES, INC., and ARMOR CORRECTIONAL HEALTH SERVICES OF NEW
YORK, INC., owed plaintiffs a non-delegable duty of care.

103. Pursuant to CPLR Section 1602(2\(iv), Defendants COUNTY OF NASSAU,
COUNTY OF NASSAU CORRECTIONAL CENTER, NASSAU COUNTY SHERIFF'S
DEPARTMENT, NASSAU HEALTH CARE CORPORATION, ARMOR CORRECTIONAL
HEALTH SERVICES, INC., and ARMOR CORRECTIONAL HEALTH SERVICES OF NEW
YORK, INC. are jointly and severally liable for all of plaintiff’ damages, including but not limited
to plaintiff’ damages, including but not limited to plaintiffs’ non-economic loss, irrespective of the
provisions of CPLR Section 1601, by reason of the fact that Defendants COUNTY OF NASSAU,
COUNTY OF NASSAU CORRECTIONAL CENTER, NASSAU COUNTY SHERIFF’S
DEPARTMENT, NASSAU HEALTH CARE CORPORATION, ARMOR CORRECTIONAL
HEALTH SERVICES, INC., and ARMOR CORRECTIONAL HEALTH SERVICES OF NEW
YORK, INC. are vicariously liable for the negligent acts and omissions of each other.

104. Pursuant to CPLR Section 1602(5), Defendants COUNTY OF NASSAU,
COUNTY OF NASSAU CORRECTIONAL CENTER, NASSAU COUNTY SHERIFEF’S
DEPARTMENT, NASSAU HEALTH CARE CORPORATION, ARMOR CORRECTIONAL
HEALTH SERVICES, INC., and ARMOR CORRECTIONAL HEALTH SERVICES OF NEW

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YORK, INC. are jointly and severally liable for all of plaintiff's damages, including but not
limited to plaintiff's damages, including but not limited to plaintiffs non-economic loss,
irrespective of the provisions of CPLR Section 1601, by reason of the fact that Defendants
COUNTY OF NASSAU, COUNTY OF NASSAU CORRECTIONAL CENTER, NASSAU
COUNTY SHERIFF’S DEPARTMENT ARMOR CORRECTIONAL HEALTH SERVICES,
INC., and ARMOR CORRECTIONAL HEALTH SERVICES OF NEW YORK, INC.’s wrongful
conduct was intentional.

105. Pursuant to CPLR Section 1602(7), Defendants COUNTY OF NASSAU,
COUNTY OF NASSAU CORRECTIONAL CENTER, NASSAU COUNTY SHERIFF'S
DEPARTMENT, NASSAU HEALTH CARE CORPORATION, ARMOR CORRECTIONAL
HEALTH SERVICES, INC., and ARMOR CORRECTIONAL HEALTH SERVICES OF NEW
YORK, INC. are jointly and severally liable for all of plaintiff's damages, including but not
limited to plaintiffs damages, including but not limited to plaintiff's non-economic loss,
irrespective of the provisions of CPLR Section 1601, by reason of the fact that Defendants
COUNTY OF NASSAU, COUNTY OF NASSAU CORRECTIONAL CENTER, NASSAU
COUNTY SHERIFF’S DEPARTMENT, NASSAU HEALTH CARE CORPORATION, ARMOR
CORRECTIONAL HEALTH SERVICES, INC., and ARMOR CORRECTIONAL HEALTH
SERVICES OF NEW YORK, INC. acted knowingly or intentionally, and in concert, to cause the
acts or failures which are a proximate cause of plaintiffs’ injuries and damages.

COUNT I

106. That at all times hereinafter mentioned, plaintiff repeats, reiterates and realleges
each and every paragraph of the within Complaint with the same force and effect as if set forth
herein at length.

107. On or about August 21, 2015 through on or about June 28, 2016, Defendant
COUNTY and/or its agents evaluated and examined decedent, EMANUEL MCELVEEN
regarding EMANUEL MCELVEEN’s fitness for confinement in a penal custodial setting.

108. On or about August 21, 2015 through on or about June 28, 2016, Defendant
COUNTY OF NASSAU CORRECTIONAL CENTER and/or its agents evaluated and examined

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decedent, EMANUEL MCELVEEN regarding EMANUEL MCELVEEN’s fitness for
confinement in a penal custodial setting.

109. On or about August 21, 2015 through on or about June 28, 2016, Defendant
NASSAU COUNTY SHERIFF’S DEPARTMENT and/or its agents examined decedent,
EMANUEL MCELVEEN regarding EMANUEL MCELVEEN’s fitness for confinement in a
penal custodial setting.

110. On or about August 21, 2015 through on or about June 28, 2016, Defendant
ARMOR and/or its agents evaluated and examined decedent, EMANUEL MCELVEEN regarding
EMANUEL MCELVEEN’s fitness for confinement in a penal custodial setting.

111. On or about August 21, 2015 through on or about June 28, 2016, Defendant
ARMOR NEW YORK and/or its agents evaluated and examined decedent, EMANUEL
MCELVEEN tegarding EMANUEL MCELVEEN’s fitness for confinement in a penal custodial
setting.

112. During the period of approximately August 21, 2015 through June 28, 2016
EMANUEL MCELVEEN remained in the custody of Defendant COUNTY.

113. During the period of approximately August 21, 2015 through June 28, 2016
EMANUEL MCELVEEN remained in the custody of Defendant COUNTY OF NASSAU
CORRECTIONAL CENTER.

114. During the period of approximately August 21, 2015 through June 28, 2016
EMANUEL MCELVEEN remained in the custody of Defendant NASSAU COUNTY
SHERIFF’S DEPARTMENT.

115. During the period of approximately August 21, 2015 through June 28, 2016
EMANUEL MCELVEEN remained under the care and in the custody of Defendant ARMOR.

116. During the period of approximately August 21, 2015 through June 28, 2016
EMANUEL MCELVEEN remained under the care and in the custody of Defendant ARMOR

NEW YORK.

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117. During the period that EMANUEL MCELVEEN was in the custody of Defendant,
COUNTY, as set forth above, said Defendant had an obligation to examine and monitor the
wellness of and protect, EMANUEL MCELVEEN.

118. During the period that EMANUEL MCELVEEN was in the custody of Defendant,
COUNTY OF NASSAU CORRECTIONAL CENTER, as set forth above, said Defendant had an
obligation to examine and monitor the wellness of and protect, EMANUEL MCELVEEN.

119. During the period that EMANUEL MCELVEEN was in the custody of Defendant,
NASSAU COUNTY SHERIFF’S DEPARTMENT, as set forth above, said Defendant had an
obligation to examine and monitor the wellness of and protect, EMANUEL MCELVEEN.

120. During the period that EMANUEL MCELVEEN was in the custody of Defendant,
ARMOR, as set forth above, said Defendant had an obligation to examine and monitor the
wellness of and protect, EMANUEL MCELVEEN.

121. During the period that EMANUEL MCELVEEN was in the custody of Defendant,
ARMOR NEW YORK, as set forth above, said Defendant had an obligation to examine and
monitor the wellness of and protect, EMANUEL MCELVEEN.

122, During the period of approximately August 21, 2015 through June 28, 2016
Defendant COUNTY continued to have an obligation to, and in fact did, supervise, monitor,
inspect and control the well-being of EMANUEL MCELVEEN.

123. During the period of approximately August 21, 2015 through June 28, 2016
Defendant COUNTY OF NASSAU CORRECTIONAL CENTER continued to have an obligation
to, and in fact did, supervise, monitor, inspect and control the well-being of EMANUEL
MCELVEEN.

124. During the period of approximately August 21, 2015 through June 28, 2016
Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT continued to have an obligation to,

and in fact did, supervise, monitor, inspect and control the well-being of EMANUEL

MCELVEEN.

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125. During the period of approximately August 21, 2015 through June 28, 2016
Defendant ARMOR continued to have an obligation to, and in fact did, supervise, monitor, inspect
and control the well-being of EMANUEL MCELVEEN.

126. During the period of approximately August 21, 2015 through June 28, 2016
Defendant ARMOR NEW YORK continued to have an obligation to, and in fact did, supervise,
monitor, inspect and control the well-being of EMANUEL MCELVEEN.

127. That at or prior to taking custody, control and supervision of EMANUEL
MCELVEEN Defendant COUNTY was aware that EMANUEL MCELVEEN had a history of

drug addiction and mental disorders.

128. That at or prior to taking custody, control and supervision of EMANUEL
MCELVEEN Defendant COUNTY OF NASSAU CORRECTIONAL CENTER, was aware that
EMANUEL MCELVEEN had a history of health problems.

129, That at or prior to taking custody, control and supervision of EMANUEL
MCELVEEN Defendants NASSAU COUNTY SHERIFF’S DEPARTMENT was aware that
EMANUEL MCELVEEN had a history of health problems.

130. That at or prior to taking custody, contro] and supervision of EMANUEL
MCELVEEN Defendant ARMOR was aware that EMANUEL MCELVEEN had a history of
health problems.

131. That at or prior to taking custody, control and supervision of EMANUEL
MCELVEEN Defendant ARMOR NEW YORK was aware that EMANUEL MCELVEEN had a

history of health problems.
132. That after taking custody, control and supervision of EMANUEL MCELVEEN

Defendant COUNTY was aware that EMANUEL MCELVEEN had a history of health problems.
133. That after taking custody, control and supervision of EMANUEL MCELVEEN
Defendant COUNTY OF NASSAU CORRECTIONAL CENTER, was aware that EMANUEL

MCELVEEN had a history of health problems.

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134. That after to taking custody, control and supervision of EMANUEL MCELVEEN
Defendants NASSAU COUNTY SHERIFF’S DEPARTMENT was aware that EMANUEL
MCELVEEN had a history of health problems.

135. That after taking custody, control and supervision of EMANUEL MCELVEEN
Defendant ARMOR was aware that EMANUEL MCELVEEN had a history of health problems.

136. That after taking custody, control and supervision of EMANUEL MCELVEEN
Defendant ARMOR NEW YORK was aware that EMANUEL MCELVEEN had a history of
health problems.

137. That on August 21, 2015 through June 28, 2016, while in the care, custody, control
and supervision of Defendant, COUNTY, decedent EMANUEL MCELVEEN became extremely
ill resulting in his death.

138. That on August 21, 2015 through June 28, 2016, while in the care, custody, control
and supervision of Defendant, COUNTY OF NASSAU CORRECTIONAL CENTER, decedent
EMANUEL MCELVEEN became extremely ill resulting in his death.

139. That on August 21, 2015 through June 28, 2016, while in the care, custody, control
and supervision of Defendant, NASSAU COUNTY SHERIFF’S DEPARTMENT, decedent
EMANUEL MCELVEEN became extremely ill resulting in his death.

140. That on August 21, 2015 through June 28, 2016, while in the care, custody, control
and supervision of Defendant, ARMOR, decedent EMANUEL MCELVEEN became extremely ill
resulting in his death.

141. That on August 21, 2015 through June 28, 2016, while in the care, custody, control
and supervision of Defendant, ARMOR NEW YORK, decedent EMANUEL MCELVEEN
became extremely ill resulting in his death.

142. That the aforementioned incident of harm and eventual death, suffered by decedent
EMANUEL MCELVEEN occurred as the result of the negligence, carelessness and recklessness
of Defendant COUNTY concerning its custody, supervision and evaluation of the health and

medical treatment of EMANUEL MCELVEEN.

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143. That the aforementioned incident of harm and eventual death, suffered by decedent
EMANUEL MCELVEEN occurred as the result of the negligence, carelessness and recklessness
of Defendant COUNTY OF NASSAU CORRECTIONAL CENTER concerning its custody,
supervision and evaluation of the health and medical treatment of EMANUEL MCELVEEN.

144. That the aforementioned incident of harm and eventual death, suffered by decedent
EMANUEL MCELVEEN occurred as the result of the negligence, carelessness and recklessness
of Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT conceming its custody,
supervision and evaluation of the health and medical treatment of EMANUEL MCELVEEN.

145. That the aforementioned incident of harm and eventual death, suffered by decedent
EMANUEL MCELVEEN occurred as the result of the negligence, carelessness and recklessness
of Defendant ARMOR concerning its custody, supervision and evaluation of the health and
medical treatment of EMANUEL MCELVEEN,

146. That the aforementioned incident of harm and eventual death, suffered by decedent
EMANUEL MCELVEEN occurred as the result of the negligence, carelessness and recklessness
of Defendant ARMOR NEW YORK concerning its custody, supervision and evaluation of the
health and medical treatment of EMANUEL MCELVEEN.

147. By reason of the foregoing, decedent EMANUEL MCELVEEN became extremely
ill and ultimately led to his death.

148. The limitations on liability is not limited pursuant to Section 1601 of the CPLR by
reason of one or more of the exemptions of CPLR Section 1602 for the reasons set forth at the end
of this pleading.

149. As a result of the aforesaid, Plaintiffs decedent, has been damaged in an amount

which exceeds the jurisdictional limits of all lower courts which would otherwise have jurisdiction.

COUNT HI
150. That at all times hereinafter mentioned, Plaintiff, repeats, reiterates and realleges

each and every paragraph of the within Complaint with the same force and effect as if set forth

herein at length.

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151. On July 5, 2016, decedent EMANUEL MCELVEEN expired from his injuries
suffered due to lack of treatment as set forth above.

152. By reason of the aforementioned negligence, carelessness and recklessness of the
Defendants, as set forth above, decedent, EMANUEL MCELVEEN expired from his medical
condition on July 5, 2016.

153. The limitations on liability is not limited pursuant to Section 1601 of the CPLR by
reason of one or more of the exemptions of CPLR Section 1602 for the reasons set forth at the end
of this pleading.

154. Asaresult of the foregoing, Plaintiff was damaged and injured.

155. As aresult of the foregoing, Plaintiff was seriously damaged and seriously injured.

156. That because of the above stated premise, Plaintiff was damaged in an amount

exceeding the jurisdictional limits of all lower Courts which would otherwise have jurisdiction.

COUNT Il
CIVIL RIGHTS VIOLATIONS

157. That at all times hereinafter mentioned, Plaintiff, repeats, reiterates and realleges
each and every paragraph of the within Complaint with the same force and effect as if set forth
herein at length.

158. During the period of August 21, 2015 through June 28, 2016, Defendant,
COUNTY, under the color of State Law, subjected decedent to the deprivation of his rights,
privileges and/or immunities secured by the constitutions of State of New York and the United
States of America, as well as by other state ordinances, statutes, codes and rules, including 42
USC 1981, 1983, 1985 and 28 USC 1343.

159. During the period of August 21, 2015 through June 28, 2016, Defendant,
COUNTY OF NASSAU CORRECTIONAL CENTER, under the color of State Law, subjected
decedent to the deprivation of his rights, privileges and/or immunities secured by the constitutions
of State of New York and the United States of America, as well as by other state ordinances,

statutes, codes and rules, including 42 USC 1981, 1983, 1985 and 28 USC 1343.

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160. During the period of August 21, 2015 through June 28, 2016, Defendant NASSAU
COUNTY SHERIFF’S DEPARTMENT, under the color of State Law, subjected decedent to the
deprivation of his rights, privileges and/or immunities secured by the constitutions of State of New
York and the United States of America, as well as by other state ordinances, statutes, codes and
rules, including 42 USC 1981, 1983, 1985 and 28 USC 1343.

161. During the period of August 21, 2015 through June 28, 2016, Defendant, ARMOR,
under the color of State Law, subjected decedent to the deprivation of his rights, privileges and/or
immunities secured by the constitutions of State of New York and the United States of America,
as well as by other state ordinances, statutes, codes and rules, including 42 USC 1981, 1983, 1985
and 28 USC 1343.

162. During the period of August 21, 2015 through June 28, 2016, Defendant, ARMOR
NEW YORK, under the color of State Law, subjected decedent to the deprivation of his rights,
privileges and/or immunities secured by the constitutions of State of New York and the United
States of America, as well as by other state ordinances, statutes, codes and rules, including 42
USC 1981, 1983, 1985 and 28 USC 1343.

163. The aforementioned actions of Defendant, COUNTY, in depriving decedent of his
civil rights, occurred while decedent was in custody of said Defendants after his arrest and
confinement, and occurred by reason of the improper custodial actions taken by employees of said
Defendants in the course of their employment for said Defendants.

164. The aforementioned actions of Defendant, COUNTY OF NASSAU
CORRECTIONAL CENTER, in depriving decedent of his civil rights, occurred while decedent
was in custody of said Defendants after his arrest and confinement, and occurred by reason of the
improper custodial actions taken by employees of said Defendants in the course of their

employment for said Defendants.

165. The aforementioned actions of Defendant, NASSAU COUNTY SHERIFF’S
DEPARTMENT, in depriving decedent of his civil rights, occurred while decedent was in custody

of said Defendants after his arrest and confinement, and occurred by reason of the improper

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custodial actions taken by employees of said Defendants in the course of their employment for
said Defendants.

166. The aforementioned actions of Defendant, ARMOR, in depriving decedent of his
civil rights, occurred while decedent was in custody of said Defendants after his arrest and
confinement, and occurred by reason of the improper custodial actions taken by employees of said
Defendants in the course of their employment for said Defendants.

167. The aforementioned actions of Defendant, ARMOR NEW YORK, in depriving
decedent of his civil rights, occurred while decedent was in custody of said Defendants after his
arrest and confinement, and occurred by reason of the improper custodial actions taken by
employees of said Defendants in the course of their employment for said Defendants.

168. The actions of the aforementioned Defendants taken in connection with the civil
rights violations alleged herein resulted from a pattern and custom followed by said Defendants.

169. As aresult of the foregoing, plaintiff's decedent was damaged and injured.

170. As a result of the foregoing, plaintiffs decedent was seriously damaged and
seriously injured.

171. That because of the above stated premise plaintiff was damaged in an amount
exceeding the jurisdictional limits of all lower Courts which would otherwise have jurisdiction.

COUNT IV
MEDICAL MALPRACTICE

172. That at all times hereinafter mentioned, Plaintiff repeats, reiterates and realleges

each and every paragraph of the within Complaint with the same force and effect as if set forth

herein at length.

173. That at all times hereinafter mentioned, Defendant COUNTY, its agents, servants
and/or employees, undertook and agreed to render medical care to Plaintiff's decedent while in
their custody and did render certain medical treatment commencing on or about August 21, 2015

through June 28, 2016.
174. That at all times hereinafter mentioned, Defendant COUNTY OF NASSAU

CORRECTIONAL CENTER, its agents, servants and/or employees, undertook and agreed to

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render medical care to Plaintiffs decedent while in their custody and did render certain medical
treatment commencing on or about August 21, 2015 through June 28, 2016.

175. That at all times hereinafter mentioned, Defendant NASSAU COUNTY
SHERIFF’S DEPARTMENT, its agents, servants and/or employees, undertook and agreed to
render medical care to Plaintiff's decedent while in their custody and did render certain medical
treatment commencing on or about August 21, 2015 through June 28, 2016.

176. That at all times hereinafter mentioned, Defendant NASSAU HEALTH CARE
CORPORATION, its agents, servants and/or employees, undertook and agreed to render medical
care to Plaintiff's decedent while in their custody and did render certain medical treatment
commencing on or about June 28, 2016 through July 5, 2016.

177. ‘That at all times hereinafter mentioned, Defendant ARMOR, its agents, servants
and/or employees, undertook and agreed to render medical care to Plaintiff's decedent while in
their custody and did render certain medical treatment commencing on or about August 21, 2015
through June 28, 2016.

178. That at all times hereinafter mentioned, Defendant ARMOR NEW YORK, its
agents, servants and/or employees, undertook and agreed to render medical care to Plaintiffs
decedent while in their custody and did render certain medical treatment commencing on or about
August 21, 2015 through June 28, 2016.

179. That the medical and/or surgical treatment, services and advised rendered to
Plaintiff's decedent by Defendant COUNTY, its agents, servants and/or employees, were
negligently, carelessly, recklessly and grossly negligently performed and were rendered in a
manner which departed from good and accepted medical and surgical practice then and there
prevailing and constituted medical malpractice.

180. That the medical and/or surgical treatment, services and advised rendered to
Plaintiff's decedent by Defendant COUNTY OF NASSAU CORRECTIONAL CENTER, its
agents, servants and/or employees, were negligently, carelessly, recklessly and grossly negligently
performed and were rendered in a manner which departed from good and accepted medical and

surgical practice then and there prevailing and constituted medical malpractice

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181. That the medical and/or surgical treatment, services and advised rendered to
Plaintiff's decedent by Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT, its agents,
servants and/or employees, were negligently, carelessly, recklessly and grossly negligently
performed and were rendered in a manner which departed from good and accepted medical and
surgical practice then and there prevailing and constituted medical malpractice.

182. That the medical and/or surgical treatment, services and advised rendered to
Plaintiff's decedent by Defendant NASSAU HEALTH CARE CORPORATION, its agents,
servants and/or employees, were negligently, carelessly, recklessly and grossly negligently
performed and were rendered in a manner which departed from good and accepted medical and
surgical practice then and there prevailing and constituted medical malpractice.

183. That the medical and/or surgical treatment, services and advised rendered to
Plaintiff's decedent by Defendant ARMOR, its agents, servants and/or employees, were
negligently, carelessly, recklessly and grossly negligently performed and were rendered in a
manner which departed from good and accepted medical and surgical practice then and there
prevailing and constituted medical malpractice.

184. That the medical and/or surgical treatment, services and advised rendered to
Plaintiff's decedent by Defendant ARMOR NEW YORK, its agents, servants and/or employees,
were negligently, carelessly, recklessly and grossly negligently performed and were rendered in a
manner which departed from good and accepted medical and surgical practice then and there
prevailing and constituted medical maipractice.

185. That Defendant COUNTY, its agents, servants and/or employees, negligently,
carelessly, recklessly and grossly negligently failed to properly test, diagnose and treat Plaintiff's
decedent which adversely affected the health and well-being of the decedent.

186. That Defendant COUNTY OF NASSAU CORRECTIONAL CENTER, its agents,
servants and/or employees, negligently, carelessly, recklessly and grossly negligently failed to

properly test, diagnose and treat Plaintiff's decedent which adversely affected the health and well-

being of the decedent.

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187. That Defendant NASSAU COUNTY SHERIFF’S DEPARTMENT, its agents,
servants and/or employees, negligently, carelessly, recklessly and grossly negligently failed to
properly test, diagnose and treat Plaintiff's decedent which adversely affected the health and well-
being of the decedent.

188. That Defendant NASSAU HEALTH CARE CORPORATION, its agents, servants
and/or employees, negligently, carelessly, recklessly and grossly negligently failed to properly
test, diagnose and treat Plaintiff's decedent which adversely affected the health and well-being of
the decedent.

189. That Defendant ARMOR, its agents, servants and/or employees, negligently,
carelessly, recklessly and grossly negligently failed to properly test, diagnose and treat Plaintiff's
decedent which adversely affected the health and well-being of the decedent.

190. That Defendant ARMOR NEW YORK, its agents, servants and/or employees,
negligently, carelessly, recklessly and grossly negligently failed to properly test, diagnose and
treat Plaintiff's decedent which adversely affected the health and well-being of the decedent.

191. That Defendants, their agents, servants, partners and/or employees were negligent
in the care rendered for and on behalf of the Plaintiff's decedent EMANUEL McELVEEN in
negligently failing and neglecting to use reasonable care in the services and care rendered for an
on behalf of the Plaintiff's decedent; in negligently and carelessly failing and neglecting to heed
Plaintiff's decedent’s condition; negligently and carelessly departing from good and accepted
medical practice in the treatment rendered upon Plaintiff's decedent; in failing to perform
indicated procedures and/or improperly performing said indicated procedures; in negligently
departing from good and accepted hospital practice and procedures in services rendered to
Plaintiff's decedent; in failing to timely diagnose and treat Plaintiff's decedent; in failing to treat
and realize the consequences of the complications associated with Plaintiffs decedent’s condition;
in failing to possess the knowledge and skill to properly treat Plaintiffs decedent’s condition; in
carelessly and negligently performing routine and/or required testing; in failing to perform routine

and/or required testing; in carelessly and negligently failing to properly treat Plaintiff's decedent’s

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condition; in negligently departing from accepted practice in failing to timely diagnose Plaintiff's
decedent’s condition; and in otherwise being careless, negligent, reckless and grossly negligent.

192. That the care and treatment rendered by Defendants, their agents, servants and/or
employees, to Plaintiff's decedent was negligent, careless, reckless, grossly negligent and
committed acts and/or omissions constituting professional negligence and were deviations from
accepted medical standards and practices in the community then and there prevailing which
deviations from accepted practices and standards resulted in the serious permanent injuries and
ultimately his death on July 5, 2016.

193. That by reason of the foregoing, Plaintiff's decedent EMANUEL McELVEEN
sustained severe and permanent personal injuries; became sick, sore, lame and disabled; suffered

mental anguish and ultimately died on July 5, 2016.

COUNT IV
WRONGFUL DEATH

194. That at all times hereinafter mentioned, Plaintiff, repeats, reiterates and realleges
each and every paragraph of the within Complaint with the same force and effect as if set forth
herein at Jength.

195. That by reason of the foregoing, Plaintiff's decedent sustained severe bodily injury
resulting in Plaintiff decedent's wrongful death on July 5, 2016.

196. That as a result of the foregoing, the Plaintiffs decedent left surviving next of kin and
distributees.

197. That by reason of the foregoing, decedent's next of kin and distributees sustained
pecuniary loss and all other damages as allowed by statutes, rules, regulations, ordinances and case

law.

198. That as a result of the foregoing, the Plaintiff decedent's estate became liable for and

expended money for funeral and other expenses.
199. That the amount of damages sought herein exceeds the jurisdictional amounts of all

lower Courts which would otherwise have jurisdiction, requiring therefore the jurisdiction of the

instant court.
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PRAYER FOR RELIEF

WHEREFORE, plaintiff requests that this Court enter judgment against the Defendants
providing the following relief:

(a) Awarding compensatory damages to Plaintiff for past and future damages,
including but not limited to pain and suffering and permanent personal injuries sustained by
deceased plaintiff, health care costs, medical monitoring, together with interests and costs as
provided by law;

(b) Punitive and/or exemplary damages for the wanton, willful, fraudulent, reckless
acts of the Defendants who demonstrated a complete disregard and reckless indifference for the
safety and welfare of the general public and to the Plaintiffs decedent in an amount sufficient to
punish Defendants and deter future similar conduct;

(c) Awarding Plaintiff reasonable attorneys’ fees;

(d) Awarding Plaintiff the costs of these proceedings; and

(e) Such other and further relief as this Courts deems just and proper.

Dated: Port Washington, New York

September 26, 2017
Yours, etc.,

y: Nicholas E. WaryWoda (NW6968)
Parker Waichman, LLP
Attorneys for Plaintiff
6 Harbor Park Drive
Port Washington, NY 11050
(516)466-6500
File No. 7010653

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INDIVIDUAL VERIFICATION

STATE OF NEW YORK }

COUNTY OF NASSAU} SS.:

Jeffrey E. DeLuca, Public Administrator of Nassau County, being duly sworn, deposes and
says:

Lam, in my capacity as Public Administrator, the Plaintiff herein; |] have reac the annexed
COMPLAINT and know the contents thereof and the same are true to my knowledge, except for
those matters therein which are stated toe be alleged on information and belief, and as to those

matters, [believe them to be true.

Jeffrey
Nassau

Sworn to before me this ait Gay

of SLM Yew 2017

awnwnica kL

Notary Public
DOMENICA LEONE
NOTARY PUBLIC STATE OF NEW YORK
NASSAU COUNTY

LIC. #O1LE6095435
COMM. EXP.

